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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                                           Case No.: 1:21-cr-129

GABRIEL GARCIA.
______________________________/

                                  RESPONSE TO
                   PODCAST FILED BY GOVERNMENT MAY 5TH, 2023

       COMES NOW, Gabriel Garcia, via undersigned counsel and files this Response to the

Podcast Filed by Government May 5th, 2023 for purposes of clarity, including the surrounding

chronology of the Podcast date of Thursday, February 23rd, 2023, for the Court's consideration and

and any pending determination as follows:

   1. The Government alleged that Mr. Garcia has disrespected the Court and violated the

       Court's Order for purposes of placing Mr. Garcia on home detention as opposed to

       incarceration on March 20th, 2023.

   2. In fact, the Government filed their Response to Defendant's Motion(s) to Travel on March

       13th, 2023 wherein the Government, in the last paragraph of their Response, alleged:

       'Because this defendant has continually taken advantage of the permissiveness of the

       Court with deceptive travel requests, and takes to social media to mock the process, it is

       apparent that defendant does not appreciate the gravity of the situation he is in and he

       does not respect this Court’s authority. For these reasons, the Government intends to

       oppose future travel requests. The government has also notified pretrial services of this

       issue.'

       (ECF #106, March 13th, 2023).
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3. A hearing was held on March 20th, 2023 on a violation of pre-trial release, wherein Mr.

   Garcia was placed on home detention. (See March 20th, 2023 Minute Order).

4. Reference the Podcast submitted by the Government on May 5th, 2023, it is imperative the

   Court be apprised that on Wednesday, February 22nd, 2023, Mr. Garcia communicated with

   his then counsel in order to set up a time for an in-person office visit for the following

   Friday, February 24th, 2023 as Mr. Garcia wanted to request of the Court permission to

   attend a Proud Boy Trial(s) in the District of Columbia, March 2nd and 3rd, 2023.

   (Attorney/Client text message thread dated February 22nd, 2023 available upon request).

   Mr. Garcia corrects the scrivener's error referring to February 16th, 2023 as the in-person

   attorney/client meeting date in the Sealed Response filed May 1st, 2023 as the meeting took

   place February 22nd, 2023).

5. On February 24th, 2023, during an attorney/client in-person conference, Mr. Garcia, did, in

   fact, repeatedly inquire of his prior counsel if it was necessary to include in his

   forthcoming motion to travel any and all travel to Maryland during the time Mr. Garcia

   was in D.C. for trial(s), particularly, for purposes of attending the location of the CPAC

   convention. (See Defendant's Sealed Response May 1st, 2023) (See Defendant's prior

   counsel's Response to Pre-Trial Services Report ECF #109 filed March 16th, 2023).

6. The Government's Podcast written Response filed May 5th, 2023 does not contain the

   actual date of the Podcast Mr. Garcia participated in, only the date of the hearing wherein

   the podcast was referred to by Government, said date being March 20th, 2023. The actual

   date of the Podcast was Thursday, February 23rd, 2023.

7. Mr. Garcia was informed about CPAC during the February 23rd, 2023 podcast

   (commencing @20 second mark) and responded to the podcast host 'when is that?' (@50
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   second mark).     This was the first time Mr. Garcia knew of a CPAC conference being held

   in Maryland on or about the same time the trial(s) Mr. Garcia wanted to observe were to

   take place in D.C.. Importantly, Mr. Garcia first knew of CPAC Maryland during the

   podcast February 23rd, 2023, after the February 22nd, 2023 request via text to his then

   counsel reference attending only trial(s) in D.C. and meeting on Friday, February 24 th,

   2023.

8. Mr. Garcia in no way deceived this Court reference his request to travel to D.C. to attend

   trial(s) as Mr. Garcia was assured there was no need to divulge any trip to Maryland to the

   Court while Mr. Garcia was attending trial(s) in D.C.. (See Defendant's prior counsel's

   Response to Pre-Trial Services Report ECF #109 filed March 16th, 2023). But for

   assurances made to Mr. Garcia, as contained in Defendant's sealed Response dated May 1st,

   2023, Mr. Garcia would not have traveled whatsoever, for any reason to Maryland or to

   CPAC.

9. For this Court to find that Mr. Garcia deceived the Court to the point of placing him on

   house detention, knowing the facts and factual chronological circumstances surrounding

   the February 23rd, 2023 podcast, would be a miscarriage of justice.

10. Mr. Garcia refers to the last three pages of his sealed Response filed May 1st, 2023 as to

   why this Honorable Court should lift home detention on Mr. Garcia , and allow Mr. Garcia

   to continue with his GPS monitor.
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing Response has been
furnished via Electronic Filing to AUSA, Office of the U.S. Attorney, District of Columbia, on this
8th day of May, 2023.


                                             /S/ Maria T. Rodriguez
                                             ______________________________
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